                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            SOUTHERN DIVISION


       CTB, INC.,                                 )
                                                  )
                     Plaintiff,                   )
                                                  )
              v.                                  )      Case No. 7:14-CV-157-D
                                                  )
       HOG SLAT, INCORPORATED                     )
                                                  )
                     Defendant.                   )




                   DEFENDANT HOG SLAT, INC.’S OPPOSITION
               TO CTB, INC.’S MOTION FOR SUMMARY JUDGEMENT

       Pursuant to Fed. R. Civ. P. 56 and L.R. 56.1, Defendant Hog Slat, Inc. (“Hog Slat”),

through counsel, respectfully files this Opposition to CTB, Inc.’s (“CTB”) Motion for Summary

Judgement (D.E. 115).




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                                        INTRODUCTION

       With its Motion for Summary Judgment, CTB seeks to dismiss Hog Slat’s affirmative

defenses that the record evidence supports, if not conclusively establishes. Knowing that its

patent was expiring and that Hog Slat was poised to make competitive feeders, CTB

intentionally withheld material information from the U.S. Patent and Trademark Office (“PTO”)

to extend their patent monopoly with invalid trade dress rights. The evidence, including the

admissions of CTB’s own witnesses and expert, demonstrate that CTB had, but withheld,

evidence of similar looking feeders of third parties, as well as CTB’s own patents and

advertisements that disclosed the functional nature of the trade dress CTB sought to register.

Destruction of such relevant documents and the adverse inference to which Hog Slat is entitled

alone requires CTB’s motion to fail.

       In furtherance of its plan, CTB waited more than four and a half years to notify Hog Slat

(via the Complaint) of its allegations, allowing the fraudulent applications to register and Hog

Slat to develop and make extensive sales of its new feeder. Even if CTB could not have filed

certain of its claims until after the registrations were (wrongfully) obtained, it had other statutory

and common law claims it should have brought earlier, and at the very least, could have provided

some notice to Hog Slat (and others) of its alleged trade dress rights. The resulting delay

prejudiced Hog Slat as it developed and sold feeders without any indication CTB would later

claim the color and/or shape of its feeders was its proprietary trade dress. There are at least

numerous genuine issues of fact as to Hog Slat’s affirmative defenses of fraud on the PTO,

laches, and waiver that mandate the denial of CTB’s Motion.




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      RESPONSE TO CTB’S STATEMENT OF UNDISPUTED MATERIAL FACTS

        Pursuant to Local Rule 56.1(a), a separate statement in response to each numbered

paragraph in CTB’s Statement of Undisputed Material Facts (D.E. 117, “CTB SUF”), and Hog

Slat’s Additional Statement of Undisputed Facts (“Hog Slat Additional SUF”) and related

Appendix, are being filed contemporaneously herewith under seal.

                    LEGAL STANDARD FOR SUMMARY JUDGEMENT

        Summary Judgment is appropriate only when the movant demonstrates that there is no

genuine dispute of any material fact and that it is entitled to judgment as a matter of law. Fed. R.

Civ. P. 56(a); Mercantile Peninsula Bank v. French, 499 F.3d 345, 352 (4th Cir. 2007). When

deciding whether a genuine issue of material fact remains, “the evidence of the nonmovant is to

be believed, and all justifiable inferences are to be drawn in his favor.” Id. (citing Anderson v.

Liberty Lobby, 477 U.S. 242, 255 (1986)). The moving party cannot prevail if “any essential

element of its claim for relief requires trial.” Mercantile Peninsula Bank, 499 F.3d at 356.

Because genuine issues of material fact remain as to Hog Slat’s Affirmative Defenses of Fraud

on the PTO, Laches, and Waiver, summary judgment for CTB is inappropriate. See L.D. Kichler

Co. v. Davoil, Inc., 192 F.3d 1349, 1352 (Fed. Cir. 1999) (denying summary judgment on fraud

because genuine issues of fact remained); Resorts of Pinehurst, Inc. v. Pinehurst Nat. Corp., 148

F.3d 417, 423 (4th Cir. 1998) (affirming denial of plaintiff’s motion for summary judgment on

defendant’s affirmative defense of laches because genuine issues of material fact remained).1




1
 Hog Slat pleaded its affirmative defenses with its Answer prior to discovery. Hog Slat will dismiss its
Affirmative Defense of Abandonment and its Affirmative Defense of Acquiescence. Hog Slat does not
challenge CTB’s Motion for Summary Judgment on those defenses.


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                                         ARGUMENT

       Ignoring the substantial evidence in the record, CTB contends that there is insufficient

evidence to support Hog Slat’s Second Affirmative Defense of Laches and Waiver, and Hog

Slat’s Fifth and Sixth Affirmative Defenses of Fraud in the Procurement of CTB’s trade dress

registrations. (D.E. 116, CTB’s Memorandum of Law In Support of Its Motion for Summary

Judgment (“CTB Memo”).) When the record evidence is considered and weighed in Hog Slat’s

favor, as required at the summary judgment stage, CTB’s Motion must be denied.

       I.       CTB Fraudulently Obtained Its Asserted Trade Dress Registrations

       To prove fraud in the procurement of a trademark (or trade dress) registration, a

challenger must show evidence that the registrant knowingly made a false, material

representation (or omission) of fact, with an intent to deceive the trademark office (“PTO”). In

re Bose Corp., 580 F.3d 1240, 1243 (Fed. Cir. 2009). A misrepresentation or omission of

relevant information is material if a jury could find that the PTO would not have issued the

registration had the accurate information been available. See L.D. Kichler, 192 F.3d at 1352

(finding summary judgment improper because there was “a genuine issue of fact regarding the

extent [i.e., materiality] of [third party] use” of the mark at issue). There must also be evidence

that the registrant intended to deceive the PTO, but “because direct evidence of deceptive intent

is rarely available, such intent can be inferred from indirect and circumstantial evidence.” In re

Bose Corp., 380 F.3d at 1245; see also Nationstar Mortgage LLC v. Ahmad, 112 U.S.P.Q.2d

1361, 2014 WL 6480655, at *13 (TTAB 2014) (“the law does not require ‘smoking gun’

evidence of deceptive intent”).

       Here, there is ample evidence that CTB: (1) misled the PTO regarding both the

functionality and distinctiveness of its Asserted Trade Dress (both configuration and color); and

(2) did so with an intent to deceive the PTO to procure registrations to which it was not entitled.

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At a minimum, genuine disputes of fact exist on both points such that summary judgment in

favor of CTB is inappropriate. See L.D. Kichler, 192 F.3d at 1352; Modern Fence Techs., Inc. v.

Qualipac Home Imp. Corp., 726 F. Supp. 2d 975, 990 (E.D. Wisc. 2010) (“genuine issue of fact

regarding whether [Registrant] withheld information concerning competitors’ designs from the

USPTO and if so, whether it deliberately withheld the information”); see also Anderson, 477

U.S. at 255 (“evidence of the nonmovant is to be believed, and all justifiable inferences are to be

drawn in his favor”). Indeed, CTB knew it needed the presumptions afforded by trade dress

registrations to extend its monopoly rights because it suspected that the shape and/or color of its

Model C2 feeders was not distinctive and “may not stand out that much.” (Hog Slat Additional

SUF at ¶ 81.) To maximize its chances of success, CTB withheld critical evidence in its

possession indicating this lack of distinctiveness and functionality from the PTO. (D.E. 120,

Hog Slat Statement of Undisputed Facts (“Hog Slat SUF”) at ¶¶ 44, 47, 51.) CTB’s Motion

should be denied.

       A.      CTB Withheld From The PTO Material Information In Its Possession
               Despite The PTO’s Specific Request For Such Information

        It is well-settled that “an applicant for a registration of a trademark has a duty of candor

in [its] communications with the PTO.” East West, LLC v. Rahman, 896 F. Supp. 2d 488, 508

(E.D. Va. 2012) (citing, e.g., Aromatique, Inc. v. Gold Seal, Inc., 28 F.3d 863, 877 (8th Cir.

1994)). Thus, by intentionally misrepresenting material facts to the PTO, and/or withholding

material information requested by the PTO, an applicant’s registration is subject to cancellation

on the basis of fraud. 15 U.S.C. §§ 1064(3) and 1120; In re Bose Corp., 580 F.3d at 1243.

       A trademark applicant also has an affirmative duty to fully respond to Requests for

Additional Information from the PTO, and failure to do so is grounds for refusal of the

application. Trademark Manual of Examination Procedure (“TMEP”) § 814 (citing In re AOP


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LLC, 107 U.S.P.Q.2d 1644, 1651 (TTAB 2013) (“Failure to comply with a request for

information is grounds for refusal”)). It is also appropriate to infer, in the absence of a response

from the applicant, that a response would be unfavorable to the applicant. Id. (noting that

because applicant failed to comply with the examining attorney’s information requirement, there

was a “presumption that had applicant directly and fully responded to the examining attorney’s

inquiries, the responses would have been unfavorable”).

       It is undisputed that the application that matured into the ’988 Product Configuration

Registration and the application that matured into the ’371 Color Combination Registration were

both initially rejected for being impermissibly functional. (CTB SUF at ¶¶ 19, 41; Hog Slat SUF

at ¶ 39.) In each of those rejections, the PTO specifically requested from CTB, among other

things, “a written explanation and documentation concerning similar designs used by

competitors.” (Hog Slat SUF at ¶ 40.) Such information was requested because it was relevant

to both the functionality and distinctiveness of the Asserted Trade Dress. See McAirlaids, Inc. v.

Kimberly-Clark Corp., 756 F.3d 307, 313 (4th Cir. 2014) (recognizing significance of use of

functional elements by others in determining functionality of asserted trade dress); Campbell

Sales Group, Inc. v. Gramercy Park Design, LLC, No. 1P:10-CV-55, 2010 WL 3945350, at *7

(M.D.N.C. Oct. 6, 2010) (finding mark not distinctive where there was concurrent use of similar

trade dress by competitors).

       Following receipt of the requests from the PTO, CTB began collecting responsive

materials, including “sample competitive advertisements.” (Hog Slat SUF at ¶ 41.) At the same

time, CTB also collected and organized a number of other images of competing feeders,

including those having similar designs, and having similar coloring. (Id. at ¶¶ 46-47.) Despite

having these responsive and highly relevant materials at its fingertips, however, CTB did not



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include them in its Response to the Office Actions. (Id. at ¶¶ 44, 47.) Mention of the numerous

other similar feeders in the marketplace was also withheld. (Id. at ¶ 51.)2 Not only did CTB

withhold this responsive information, but CTB failed to respond to the Request for Information

at all, which presumes that information responsive would have been adverse. TMEP § 814

(citing In re AOP, 107 U.S.P.Q.2d at 1651). In fact, this Court recently affirmed an award of

sanctions against CTB on this very issue, entitling Hog Slat to an adverse inference that “CTB

withheld from the [PTO] . . . competitor advertising materials it had compiled in connection with

its application for the ’988 registration for product configuration that were adverse to that

application.” (Hog Slat SUF at ¶ 45 (citing D.E. 74, Order at 24 (emphasis added); see also

D.E. 114 (affirming sanctions award).)

       Rather than submit these materials, and likely dispositive images to the PTO as requested

and required, CTB submitted an assortment of black and white images of dissimilar feeders

used for different purposes, thereby giving the PTO the false impression that competitors were

not using the functional features CTB was attempting to monopolize. (Hog Slat SUF at ¶ 47.)

The unassailable evidence demonstrates that CTB had (and knew it had) possession of readily

accessible images of similar feeders embodying the functional trade dress attributes at issue. (Id.

at ¶¶ 43-47.) It knew such information would cause the PTO to reject its registration so it

submitted other images instead. (See Hog Slat Additional SUF at ¶ 81; see also id. at ¶ 83

(                                                                                 .) CTB’s failure to

respond to the PTO’s specific request for material information and its intentional actions to

instead provide black and white images of dissimilar feeders shows a material misrepresentation


2
 (See also D.E. 126-1, Product Configuration Trade Dress Registration File History (“’988 Reg. File
Hist.”) at page 119-20 (declaring to “substantially exclusive” use in commerce for at least five years,
despite knowledge to the contrary).)


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to the PTO with an intent to fraudulently procure the registrations at issue. See Melodrama Pub.,

LLC v. Santiago, No. 12-CV-7830, 2013 WL 1700929, at *6 (S.D.N.Y. April 11, 2013)

(cancelling registration for fraud on the PTO where registrant submitted false evidence of use to

the PTO); East West, 896 F. Supp. 2d at 509 (cancelling registration where registrant failed to

affirmatively disclose “all relevant facts of which it had knowledge bearing on the PTO’s

decision to grant the registration”); Modern Fence, 726 F. Supp. 2d at 989-990 (recognizing

potential fraud where registrant withheld requested evidence from the PTO).3

        This is not a situation where the information was withheld because of some “inadvertence

or reasonable mistake or misunderstanding.” Nationstar, 2014 WL 6480655 at *12. There was

no mistake: CTB knew it was obligated to respond to the request for “documentation concerning

similar designs used by competitors” and                                                (Hog Slat SUF at

¶¶ 40-47);                                                              (Hog Slat Additional SUF at ¶¶

81-83); and therefore                                                           (Hog Slat SUF at ¶¶ 44,

47). Consequently, CTB defrauded the PTO, Nationstar, 2014 WL 6480655 at *12 (“the

conclusion that applicant committed fraud on the USPTO seems, to us, to be inescapable”), and

summary judgment for CTB is therefore inappropriate. L.D. Kichler, 192 F.3d at 1352 (genuine

issues of fact regarding materiality of third party use and intent of registrant inappropriate issues

for resolution at summary judgment); Scurmont LLC v. Firehouse Restaurant Grp., Inc., No.

4:09-CV-00618, 2011 WL 2670575, at *23 (D.S.C. July 8, 2011) (holding that when questions


3
  CTB’s conclusory statement that one of the feeders known to CTB (the Big Dutchman 330) does not
incorporate the Asserted Product Configuration Trade Dress (CTB SUF at ¶ 69) is insufficient to
overcome this evidence of fraud, especially in light of
                                                                         (Hog Slat Additional SUF at ¶ 79.)
Indeed, CTB’s reliance here on the testimony of its long-time IP counsel and litigation counsel, Mr.
David Marr, illustrates the potential bias at play and the need for credibility determinations to be made by
a jury, thereby precluding summary judgment for CTB. See Scurmont, 2011 WL 2670575, at *23.


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regarding witness credibility are at issue, summary judgment is inappropriate); see also

Anderson, 477 U.S. at 249 (“at the summary judgment stage the judge’s function is not himself

to weigh the evidence and determine the truth of the matter but to determine whether there is a

genuine issue for trial”).4

        B.      CTB’s Affirmative Statements To The PTO Were Also Intentionally False

        With little support or citation, CTB argues that several of its representations to the PTO

and statements in its own advertising are not false or misleading. (CTB Memo at 12-15.) For

instance, CTB contends that it did not misrepresent anything to the PTO when it claimed that its

advertising “did not mention the shape or width of the spokes of the pan feeders.” (Id. at 12.)

CTB further contends that it was not a misrepresentation to the PTO when it stated that its

advertising did not mention that its design was a unique or special design that is more effective

than competing grills with different grill designs. (Id. at 13.)

        The undisputed evidence of record refutes these claims. CTB’s advertising is replete

with examples where it calls out its “patented” and “bird friendly” or “chick friendly” feeder grill

design. (D.E. 127-1, Deposition of T. John Cole (“Cole Depo.”) at Exs. 2-4, 20-22, 24 thereto).

Indeed, the claimed “patented” design is a direct reference to the design of the grill and shape of

the spokes themselves, because it is the design and shape of the grill/spokes that is patented.

(Hog Slat SUF at ¶¶ 15-22.) CTB’s contrary statements to the PTO are therefore false.


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   As a general proposition, fraud claims are “generally not amenable to resolution on summary
judgment.” U.S. ex rel. Bunk v. Gov’t Logistics N.V., 842 F.3d 261, 276 (4th Cir. 2016) (citing Morrison
v. Nissan Motor Co., 601 F.2d 139, 141 (4th Cir. 1979) (“[W]hen the disposition of a case turns on a
determination of intent, courts must be especially cautious in granting summary judgment, since the
resolution of that issue depends so much on the credibility of the witnesses, which can best be determined
by the trier of facts after observation of the demeanor of the witnesses during direct and cross-
examination.”)). Further, when evidence of intention is ambiguous, summary judgment simply cannot be
awarded. See Gen. Analytics Corp. v. CNA Ins. Cos., 86 F.3d 51, 54 (4th Cir. 1996).



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        Further, CTB’s contention that the applications to register the trade dress “did not claim

anything about the shape or width of the spokes of the pan feeders” is completely untrue. The

’988 Registration on its face both (1) depicts, in unbroken lines,5 the “shape” of the spokes and

(2) claims as protectable trade dress the “grill structure” described in the registration. (CTB SUF

at ¶¶ 29-30.) CTB’s contention that these statements cannot be considered false “as a matter of

law”—without citation to any authority—is unsubstantiated and legally incorrect. See Modern

Fence, 726 F. Supp. 2d at 990 (recognizing evidentiary weight of claims in advertisements in

fraud analysis).

        CTB also contends that references in its product literature to the “patented design” that

“lets chicks exit pans easily” (see, e.g., Cole Depo at Ex. 3 thereto) is a reference simply to the

“T-shaped cross-section of the spokes of the grill.” (CTB Memo at 13.) This overly simplistic

view of what is taught by CTB’s ’274 Patent, and what is meant by such references in CTB’s

literature, have been fully briefed and dispensed with in Hog Slat’s Memorandum in Support of

Summary Judgment.          (See D.E. 122, “Hog Slat Memo” at 7-10 (making clear that the

functionality of the grill structure taught in the ’274 Patent and touted in CTB’s product literature

is not limited to the “t-shaped cross section” of the spokes).)

        Finally, CTB contends that its representations to the PTO regarding the non-functionality

of its claimed color combination were not fraudulent.                (CTB Memo at 14-15.)            These

unsupported legal and factual arguments also fall far short of justifying summary judgment in its


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  (D.E. 126-1, ’988 Reg. File Hist. at 001 (“The matter shown in broken lines is not part of the mark”).);
see also 37 C.F.R. § 2.52(b)(4); TMEP § 1202.02(c)(i) (“If the mark comprises only a portion of product
design or product packaging, solid lines must be used on the drawing to show the elements of the product
design or product packaging that are claimed as part of the mark, and broken or dotted lines must be used
to indicate the portions that are not claimed as part of the mark.”). Elements in dotted lines are generally
excluded from the examining attorney’s consideration, and conversely everything in solid lines are
considered. See id; see also In re Homeland Vinyl Prods., Inc., 81 U.S.P.Q.2d 1378, 1382 (TTAB 2006).


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favor. Hog Slat has already outlined in detail why the claimed color combination is, in fact,

functional. (See Hog Slat Memo at Sec. I.C, pages 10-12.) Included in that analysis are

admissions by CTB, both in CTB’s patents and through testimony in this case, that the red and

gray used by CTB is functional. (Id. at 11 (quoting CTB’s own ’732 Patent teaching that

“chickens are attracted to the color red”); id. (quoting CTB’s company witness: “

                                                                                           ”); id. at

12 (discussing central advance of ’732 Patent which teaches use of reflective particles (including

those used by CTB in its Model C2 feeders to make the grills gray) to attract chickens to the

feeder).)6

        Whether CTB now disagrees with its own admissions and patents is immaterial. What is

relevant is that CTB, the applicant charged with a duty of full disclosure and candor,

intentionally decided to withhold this information from the governmental entity charged with

weighing all the facts and determining whether the applied for trade dress could be registered.

East West, 896 F. Supp. 2d at 508. Accordingly, CTB cannot save itself from fraud by now

claiming that it “believes” the color combination to not be functional. The facts show that it

intentionally withheld from the PTO, in an effort to deceive it, the overwhelming evidence to the

contrary demonstrated by, among other things, its own admissions. Summary judgment for CTB

is therefore inappropriate. See East West, 896 F. Supp. 2d at 509 (disregarding registrant’s

“alleged belief” in the truth of his statements to the PTO in view of significant evidence to the

contrary).



6
  CTB further intimates that the regardless of whether red and gray are individually functional, the
combination of red and gray is not functional. (See CTB Memo at 14-15.) Trade dress is functional,
however, when it comprises “nothing more than an assemblage of functional parts.” Apple Inc. v.
Samsung Elecs. Co., 786 F.3d 983, 995-96 (Fed. Cir. 2015).


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       C.     Both Party’s Experts Testified That The Information And Documents
              Withheld from the PTO Were Material to the PTO’s Decision

       CTB’s Motion also ignores the testimony of Hog Slat’s trademark expert, former

Administrative Trademark Judge Robert Cissel, who concluded based on his extensive

experience at the PTO and review of the record here that if CTB had properly responded to the

Request for Information and not misled the PTO with images of dissimilar feeders only, the PTO

would not have issued the registrations. (Hog Slat Additional SUF at ¶ 82.) Even more

compelling, when faced with admissions by CTB’s witnesses that




                                                             .” (Hog Slat Additional SUF at ¶

83.) A jury is entitled to weigh this evidence, with the substantial evidence of fraud discussed

above, to consider whether CTB fraudulently procured its trademark registrations. Accordingly,

CTB’s Motion should be denied.

       II.    CTB’s Unreasonable Delay In Bringing Suit Supports Hog Slat’s Affirmative
              Defense of Laches

       The doctrine of laches is “based on the maxim that equity aids the vigilant, not those who

sleep on their rights.” Lyons P’ship, L.P. v. Morris Costumes, Inc., 243 F.3d 789, 797 (4th Cir.

2001). Thus, laches provides a defense from a trademark owner who “unreasonably delay[s] in

seeking redress to the detriment of the defendant.” Ray Commc’ns, Inc. v. Clear Channel

Commc’ns, Inc., 673 F.3d 294, 300 (4th Cir. 2012). To do otherwise would allow the inequitable

situation where a trademark owner, “despite having a colorable infringement claim, allows a

competitor to develop its products around the mark and expand its business, only then to lower

the litigation boom.” What-A-Burger of Va., Inc. v. Whataburger, Inc. of Corpus Christi, Tx.,

357 F.3d 441, 449 (4th Cir. 2004) (citing Hot Wax, Inc. v. Turtle Wax, Inc., 191 F.3d 813, 824

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(7th Cir. 1999)). That is exactly what happened in this case. In evaluating the appropriateness of

applying the doctrine of laches, courts will consider “(1) whether the owner of the mark knew of

the infringing use; (2) whether the owner’s delay in challenging the infringement of the mark

was inexcusable or unreasonable; and (3) whether the infringing user has been unduly prejudiced

by the owner’s delay.” Ray Commc’ns, 673 F.3d at 300.

       In its Motion, CTB challenges only the second element, contending that its failure to take

any action to enforce its purported rights until July 2014 is not “inexcusable or unreasonable” as

a matter of law. (CTB Memo at 6 (“The present motion addresses only the second element.”)).

CTB asserts that argument despite becoming aware, in at least October 2009 (nearly five years

before filing suit) that Hog Slat was planning to introduce its competing feeder. (Hog Slat

Additional SUF at ¶¶ 71-73.) Accordingly, CTB has conceded, at least for purposes of summary

judgement, that it knew of Hog Slat’s allegedly infringing use (element 1), and that Hog Slat has

been unduly prejudiced by CTB’s delay (element 3).7 Celotex Corp. v. Catrett, 477 U.S. 317,

323 (1986). Summary judgment for CTB is therefore inappropriate so long as Hog Slat raises

evidence that the delay was unreasonable in view of the prejudice to Hog Slat. See Resorts of

Pinehurst, 148 F.3d at 423 (denying summary judgment on laches where relevant genuine issues

of material fact remained). The record makes clear that the prejudice to Hog Slat caused by

CTB’s delay in taking any action to enforce its purported rights outweighs any presumption

against application of laches claimed by CTB. (CTB Memo at 8.)

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  Notwithstanding CTB’s concession, the record supports both of these additional elements. First, it is
undisputed that CTB knew of Hog Slat’s purported infringing use, including declarations to that effect
submitted to the PTO in 2011. (Hog Slat’s Additional SUF at ¶¶ 70-77). Second, CTB’s unreasonable
delay has unduly prejudiced Hog Slat and the successful growth of its allegedly infringing feeders over
the last six-plus years. Hog Slat SUF at ¶ 63; Ray Commc’ns, 673 F.3d at 305 (identifying both economic
prejudice from reliance on the trademark owner’s inaction by developing a valuable business around the
purported trademark (as Hog Slat did here), and evidentiary prejudice, such as the evidence CTB allowed
to spoil and for which it was sanctioned (see D.E. 74, Sanctions Order)).


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       A.     CTB Had A Cognizable Right To Sue In, At Least, January 2011

       CTB relies heavily on the fact that its federal trademark registrations did not issue until

March 27, 2012, and February 12, 2013, respectively, contending that it “could not have sued

Hog Slat for trademark infringement under the Lanham Act” before those dates. (CTB Memo at

7 (emphasis added).)    This overly narrow assertion ignores, however, the numerous other

colorable claims available to CTB as of, at least, January 2011, including several asserted by

CTB in this suit. (See D.E. 3, “CTB’s Complaint” (alleging Unfair Competition under 15 U.S.C.

§ 1125(a); Unfair and Deceptive Trade Practices under N.C. Gen. Stat. § 75-1.1, et seq.; common

law trademark infringement; and common law unfair competition).)

       There is no legal support for CTB’s claim that it “is not compelled to file a lawsuit on

common-law allegations when a federal trademark application is pending.” (CTB Memo at 9

(citing What-A-Burger, 357 F.3d at 450 (requiring nothing more than a ripe cause of action)).)

As CTB notes in its Memo, the applicable “violation” must simply be a breach of either a

statutory right (e.g., 15 U.S.C. § 1125) or common law right (e.g., common law trademark

infringement and/or unfair competition). (CTB Memo at 7 (citing What-A-Burger, 357 F.3d at

449).) CTB had several claims, including federal statutory claims (e.g., 15 U.S.C. § 1125), that

it could have asserted long before one or both of the registrations issued.         Accordingly,

application of laches should not be dictated by the date on which one or both of CTB’s

fraudulently obtained registrations issued. What-A-Burger, 357 F.3d at 449.

       This is especially true where, as here, the registrations at issue are not “intent to use”

applications, but actual use applications filed under 15 U.S.C. § 1051(a) based on CTB’s alleged

trade dress rights in both the product configuration and the color combination dating back to the




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Model C2 in 1991.8 Cf. High Voltage Beverages, LLC v. Coca-Cola Co., No. 3:08-CV-367,

2011 WL 831523, at *4 (W.D.N.C. Mar. 3, 2011) (basing its laches calculation from the date of

registration of plaintiff’s intent to use trademark application, which is distinguishable from

CTB’s long-standing actual use alleged here).            CTB failed to even attempt to register its

purported trade dress until November 2010—three weeks after its patent monopoly over the

Model C2 and Model C2 Plus feeders expired. (Hog Slat SUF at ¶¶ 1-3.) The record evidence

demonstrates that the registrations were not an attempt to register any rights CTB thought it had

in the product configuration or color combination, but instead to improperly extend the

monopoly lost to expiration of its ’274 Patent. (Hog Slat SUF at ¶ 4 (

                                                                                              ” (emphasis

added)).)

        Further still, CTB’s own filings with the PTO acknowledge the existence of what it

believed to be “actual confusion” in at least January 2011. (Hog Slat Additional SUF at ¶ 76.)

Both Dave Laurenz and John Cole, CTB’s later-designated Rule 30(b)(6) witnesses for the

company, declared under penalty of perjury that they believed there to be a likelihood of

confusion at that time. (Id.) Notwithstanding the fact that there was not, and is not, any

likelihood of confusion (see Hog Slat Memo at Sec. III, pages 18-25), the facts CTB relies upon

now to assert its infringement claims are the same as they were then. Accordingly, CTB’s

allegations of infringement in January 2011 establish, for purposes of the laches analysis here,

that it had a “provable claim for infringement” at that time. What-A-Burger, 357 F.3d at 449.

Any calculation of unreasonable delay should therefore start from, at least, January 2011. Id.

8
 According to CTB’s Complaint, however, it has been utilizing the Asserted Trade Dress not since 1991,
or 1999 as claimed in the applications, but since 1964; that is more than 50 years during which CTB has
never once provided notice to its competitors that it claimed any rights in the product configuration or the
color combination. (D.E. 3, CTB’s Complaint at ¶¶ 18, 23; Hog Slat SUF at ¶¶ 12, 62.)


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        B.      CTB’s Delay In Filing Suit Was Unreasonable

        CTB’s 42 month delay (at least) in bringing the present suit is unreasonable, especially

when considered with CTB’s prior knowledge, in at least October 2009, that Hog Slat was

developing a competing feeder and planning to introduce it into the market following expiration

of CTB’s ’274 Patent. (Hog Slat Additional SUF at ¶¶ 71-77.) CTB contends simply that,

because it filed suit less than four years after Hog Slat began selling its competing feeder, laches

cannot be applied. (CTB Memo at 8-9.) This contention is misplaced, however, because courts

are only “guided” by the analogous limitations period for comparable state actions; laches is not

per se precluded simply because a plaintiff technically satisfies the limitations deadline. See

Lyons, 243 F.3d at 799 (noting that a presumption may apply, but not mandating preclusion of

laches simply because suit was brought within the analogous limitations period) (citing Hot Wax,

Inc. v. Turtle Wax, Inc., 191 F3d 813, 821 (7th Cir. 1999) (“The notion of a ‘continuing wrong,’

which is so prevalent in Lanham Act cases, provides a strong justification for the application of

the doctrine of laches in appropriate circumstances regardless of whether the plaintiff has

brought suit within the analogous statute of limitations.” (emphasis added)); Conopco, Inc. v.

Campbell Soup Co., 95 F.3d 187, 192-95 (2d Cir. 1996) (affirming district court’s application of

laches in view of evidence of detrimental reliance on plaintiff’s inaction, despite finding that suit

was filed within the statute of limitations period)); see also Trustees of Columbia University v.

Columbia/HCA Healthcare Corp., 964 F. Supp. 733, 751-53 (applying laches and holding that

42 month delay in bringing suit was unreasonable).9



9
 CTB also contends that a court “should not apply laches to overrule the legislature’s judgment as to the
appropriate time limit to apply for actions brought under the statute. (CTB Memo at 9 (citing Lyons, 243
F.3d at 798).) Lyons, however, was discussing this in the context of the Copyright Act, which has a
Congressionally mandated statute of limitations. Lyons, 243 F.3d at 798. As Lyons makes clear in the


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       In Conopco, for example, the plaintiff stood by for years while defendant “committed

massive resources” to exploit its allegedly objectionable marketing strategy. 95 F.3d at 192. By

the time plaintiff filed suit—within the applicable statute of limitations—it was nevertheless too

late for defendant to adopt an alternative marketing position, resulting in substantial prejudice

that justified application of laches. Id. The same is true here. CTB knew, before it even sought

registration of its purported trade dress, that Hog Slat was developing a competing feeder

product and was simply waiting on CTB’s ’274 Patent to expire. (Hog Slat Additional SUF at

¶ 73.) Rather than advise Hog Slat of its purported rights in the trade dress—which would have

allowed Hog Slat to attempt to modify its feeder design early in the development process to try

to avoid the alleged infringement—CTB sat back and watched as Hog Slat developed and then

began selling its feeder. (Hog Slat SUF at 12, 62; Hog Slat Additional SUF at ¶¶ 71-77.) Even

after securing its federal registrations, CTB continued to wait almost a year and half before

giving any notice to Hog Slat of its alleged trade dress rights which came in the form of a filed

Complaint.    (CTB Memo at 9-10).         The record shows that CTB has never provided any

indication on its feeders that it claims any rights in the Asserted Trade Dress. (Hog Slat SUF at

¶¶ 12, 62).

       While CTB may have technically filed within the analogous four-year statute of

limitations period, there is significant evidence demonstrating substantial prejudice to Hog Slat,

prejudice that could have been avoided if CTB acted within a reasonable time.                Where a

defendant relies to its detriment based on plaintiff’s undue delay, laches may be found regardless

of the limitations period; indeed, the doctrine of laches is available to defendants to protect

against exactly this type of detrimental reliance. What-A-Burger, 357 F.3d at 449 (citing Hot

following paragraph, the Lanham Act has no such statute of limitations, which is exactly why courts are
merely “guided,” not bound, by the analogous state law statute of limitations. Id. at 799.


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Wax, 191 F.3d at 824 (affirming application of laches where plaintiff “permitted defendant’s

advertising and the development of its products to go unchecked and sat idly by and chose not to

challenge defendant’s use of the mark with respect to its products.” (internal quotations

omitted))); see also Hot Wax, 191 F.3d at 822 (“whether a Lanham Act claim has been brought

within the analogous state statute of limitations is not the sole indicator of whether laches may be

applied in a particular case.”); Conopco, 95 F.3d at 192 (“prejudice ensues when a defendant has

changed his position in a way that would not have occurred if the plaintiff had not delayed”

(internal quotations omitted)).10

        In view of the detriment and prejudice to Hog Slat identified above, and CTB’s effective

concession that prejudice to Hog Slat exists in explicitly not challenging that point, it cannot be

said as a matter of law that CTB’s at least 42 month delay was reasonable, and CTB has cited no

authority to the contrary. (CTB Memo at 10 (citing High Voltage which finds only that 16

months not unreasonable, significantly less than the 42 months here).) See also Trustees of

Columbia Univ., 964 F. Supp. at 753 (holding that plaintiff’s claims were appropriately barred by

laches in view of unreasonable 42 month delay). CTB’s Motion for Summary Judgment should

therefore be denied. Resorts of Pinehurst, 148 F.3d at 423.

                                           CONCLUSION

        The evidence establishes that CTB fraudulently procured its trademark registrations from

the PTO, and unreasonably delayed in filing this suit or providing any notice to Hog Slat that it

was claiming rights in the Asserted Trade Dress. CTB’s Motion disregards this evidence in an


10
  The record here also supports Hog Slat’s Affirmative Defense of Waiver. See Medearis v. Trustees of
Myers Park Baptist Church, 148 N.C. App. 1, 12, 558 S.E.2d 199, 206-07 (2001) (“A wavier is implied
when a person dispenses with a right by conduct which naturally and justly leads the other party to
believe that he has so dispensed with the right.”). CTB’s reliance on the discussion in Lyons directed to
an analysis of the Copyright Act’s statute of limitations is misplaced. Lyons, 243 F.3d at 797.


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unsupported attempt to remove from the jury’s consideration the legitimate affirmative defenses

available to Hog Slat. CTB’s Motion for Summary Judgment should be denied.

Dated: February 20, 2017                       Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 20, 2017, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system which will send notification of electronic filing to the

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